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 11   Marc Jacobs International, LLC,
      Saks Incorporated, d/b/a Saks Fifth Avenue, and
 12   Neiman Marcus Group Limited, LLC
 13                        UNITED STATES DISTRICT COURT
 14                      CENTRAL DISTRICT OF CALIFORNIA
 15   NIRVANA, L.L.C., a Washington               Case No.: 2:18-cv-10743-JAK-SK
      Limited Liability Company,
 16
                   Plaintiff,
 17                                               DEFENDANTS’ COUNTERCLAIM
            v.                                    FOR DECLARATORY
 18                                               JUDGMENT OF COPYRIGHT
      MARC JACOBS INTERNATIONAL                   INVALIDITY AND
 19   L.L.C., a Delaware Limited Liability        UNENFORCEABILITY
      Company; SAKS INCORPORATED,
 20   d/b/a SAKS FIFTH AVENUE, a
      Tennessee Corporation; NEIMAN               (Assigned to Hon. John A. Kronstadt)
 21   MARCUS GROUP LIMITED, L.LC., a              Complaint Filed: Dec. 28, 2018
      Delaware Limited Liability Company;
 22   and Does 1 through 10,
 23               Defendants.
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      MARC JACOBS INTERNATIONAL,
  1   LLC, a Delaware Limited Liability
      Company; SAKS INCORPORATED,
  2   d/b/a SAKS FIFTH AVENUE, a
      Tennessee Corporation; and NEIMAN
  3   MARCUS GROUP LIMITED, LLC, a
      Delaware Limited Liability Company,
  4
                  Counterclaim Plaintiffs,
  5
             v.
  6
      NIRVANA, L.L.C., a Washington
  7   Limited Liability Company,
  8                Counterclaim Defendant.
  9
 10         Counterclaim Plaintiffs Marc Jacobs International, LLC, Saks Incorporated,
 11   d/b/a Saks Fifth Avenue, and Neiman Marcus Group Limited, LLC (collectively
 12   “Counterclaim Plaintiffs” unless otherwise separately designated) hereby assert the
 13   following counterclaim against Counterclaim Defendant Nirvana, L.L.C. (“Nirvana”)
 14   with respect to invalidity of United States Copyright Registration No. VA0000564166
 15   the (“166 Registration”).
 16                               NATURE OF THE ACTION
 17         1.    Nirvana filed suit against Counterclaim Plaintiffs on December 28, 2018
 18   alleging, inter alia, infringement of U.S. Copyright Reg. No. VA0000564166.
 19   Nirvana’s claim for copyright infringement against Counterclaim Plaintiffs is
 20   predicated upon the existence of a certain smiley face design shown in the Complaint
 21   and allegedly created by Kurt Cobain in 1991 that is now purportedly owned by
 22   Nirvana as a result of multiple transfers in writing and by operation of law. This
 23   allegation finds no support in the sworn testimony of David Grohl and Krist
 24   Novoselic, the two surviving members of the band Nirvana, who could not identify
 25   the creator of the disputed work in sworn testimony. The apparent absence of any
 26   living person with first-hand knowledge of the creation of the allegedly copyrighted
 27   work in question, coupled with numerous other deficiencies in the 166 Registration
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                                  DEFENDANTS’ COUNTERCLAIM
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  1   that is the basis for Nirvana’s infringement claim are the basis for the counterclaim
  2   asserted herein.
  3                             JURISDICTION AND VENUE
  4         2.     This is a counterclaim for declaratory relief pursuant to the Federal
  5   Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202 and the United States
  6   Copyright Act, 17 U.S.C. §§ 101 et seq.
  7         3.     This Court has jurisdiction over the subject matter of this counterclaim
  8   pursuant to 28 U.S.C. §§ 1331 and 1338(a).
  9         4.     This Court has personal jurisdiction over Counterclaim Defendant, inter
 10   alia, because Counterclaim Defendant has subjected itself to the jurisdiction of this
 11   forum by suing Counterclaim Plaintiffs in this District.
 12         5.     Venue is proper in this judicial district pursuant to 28. U.S.C. §§ 1391
 13   and 1400 because Nirvana resides and does business in this judicial district.
 14                                         PARTIES
 15         6.     Counterclaim Plaintiff Marc Jacobs International, LLC (“MJI”) is a
 16   limited liability organized and existing under the laws of the State of Delaware with
 17   a place of business located at 8400 Melrose Place, Los Angeles, CA 90069.
 18         7.     Counterclaim Plaintiff Saks Incorporated, d/b/a Saks Fifth Avenue
 19   (“Saks”) is a corporation organized and existing under the laws of the State of with a
 20   place of business located at 9600 Wilshire Blvd., Beverly Hills, CA 90212.
 21         8.     Counterclaim Plaintiff Neiman Marcus Group Limited, LLC (“NMG”)
 22   is a limited liability organized and existing under the laws of the State of Delaware
 23   with a place of business located at 9700 Wilshire Blvd., Beverly Hills, CA 90212.
 24         9.     Upon information and belief, Counterclaim Defendant Nirvana, L.L.C.
 25   is a limited liability company organized and existing under the laws of the State of
 26   Washington that does business in this judicial district.
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                                  DEFENDANTS’ COUNTERCLAIM
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  1          COUNTERCLAIM FOR DECLARATION OF UNITED STATES
  2   COPYRIGHT REGISTRATION INVALIDITY AND UNENFORCEABILITY
  3          10.    An actual case or controversy exists between the parties by virtue of the
  4   Complaint for copyright infringement filed by Nirvana against Counterclaim
  5   Plaintiffs.
  6          11.    This controversy stems from Nirvana’s assertion that Counterclaim
  7   Plaintiffs have infringed a tee shirt design entitled “Happy Face” consisting of: (1) a
  8   smiley face that looks hand drawn, with (a) Xs as eyes, (b) a squiggly line for a mouth
  9   with a tongue protruding therefrom and (c) a roughly circular facial outline (the “X-
 10   Eye Smiley Face”), (2) the word NIRVANA written above the X-Eye Smiley Face on
 11   the front of the tee shirt in a stylized font and (3) the words “flower sniffin kitty pettin
 12   baby kissin corporate rock whores” with a horizontal line above it written on the back
 13   of the tee shirt (the allegedly registered tee shirt design and all elements thereof,
 14   including the X-Eye Smiley Face, collectively the “Disputed T-Shirt Design”) as
 15   shown below:
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 24          12.    Specifically, Nirvana alleges that it owns a valid United States Copyright
 25   registration for the Disputed T-Shirt Design, and that the Counterclaim Plaintiffs have
 26   created and sold products featuring designs which are virtually identical or
 27   substantially similar to the Disputed T-Shirt Design.
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                                   DEFENDANTS’ COUNTERCLAIM
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  1         13.    The allegations of infringement asserted against the Counterclaim
  2   Plaintiffs by Nirvana are premised upon the 166 Registration.
  3         14.    The Complaint does not allege that the Disputed T-Shirt Design, or any
  4   element thereof, is original.
  5         15.    One, some, or all of the works covered by the 166 Registration, including
  6   without limitation the X-Eye Smiley Face, are composed of familiar symbols or
  7   designs and/or words and short phrases such as names, titles, and slogans, and thus
  8   are not subject to copyright protection.
  9         16.    Pursuant to 37 C.F.R. § 202.1, words and short phrases such as names,
 10   titles, and slogans are not copyrightable or registrable with the U.S. Copyright Office.
 11         17.    The Compendium of U.S. Copyright Office Practices § 313.4(C) cites
 12   “the name of a band or performing group” as an example of words and short phrases
 13   that are not copyrightable or registrable with the U.S. Copyright Office because it
 14   contains a de minimis amount of authorship.
 15         18.    The term “Nirvana” is the name of a band or performing group and is not
 16   copyrightable or registrable with the U.S. Copyright Office.
 17         19.    According to the Compendium of U.S. Copyright Office Practices §
 18   313.4(C), “individual words or brief combinations of words, even if the word or short
 19   phrase is novel or distinctive or lends itself to a play on words” are not copyrightable.
 20         20.    Pursuant to 37 C.F.R. § 202.1, familiar symbols or designs are not
 21   copyrightable or registrable with the U.S. Copyright Office.
 22         21.    The Compendium of U.S. Copyright Office Practices § 313.4(C) cites
 23   “simple emoticons such as the typical smiley face” as a “well-known and commonly
 24   used symbol[] that contain[] a de minimis amount of expression or that [is] in the
 25   public domain.”
 26         22.    The X-Eye Smiley Face is a familiar symbol in the public domain that is
 27   not copyrightable or registrable with the U.S. Copyright Office.
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                                  DEFENDANTS’ COUNTERCLAIM
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  1         23.    The 166 Registration is invalid because one, some, or all of the works
  2   covered by the 166 Registration, including the X-Eye Smiley Face, are not subject to
  3   copyright protection.
  4         24.    Upon information and belief, the works covered by the 166 Registration,
  5   including without limitation the X-Eye Smiley Face, were created by multiple
  6   different authors.
  7         25.    Upon information and belief, the rights of the creators of the works
  8   covered by the 166 Registration, including without limitation the X-Eye Smiley Face,
  9   were not properly transferred to Nirvana in writing or by operation of law.
 10         26.    The 166 Registration is invalid because Nirvana is not the original
 11   creator of one, some, or all of the elements of the work covered by the 166
 12   Registration, including without limitation the X-Eye Smiley Face, and the rights of
 13   such creators have not been transferred to Nirvana in writing or by operation of law.
 14         27.    According to the 166 Registration, the Disputed T-Shirt Design was
 15   created in 1991.
 16         28.    According to the 166 Registration, the Disputed T-Shirt Design was first
 17   published November 1, 1991.
 18         29.    Upon information and belief, the work registered under the 166
 19   Registration is comprised of various two-dimensional designs and text created by
 20   multiple different persons and first published on multiple different dates.
 21         30.    Upon information and belief, the X-eye Smiley Face was first published
 22   at least as early as August 17, 1991.
 23         31.    Upon information and belief, the word “NIRVANA” in stylized typeface
 24   was first published at least as early as June 15, 1989.
 25         32.    The 166 Registration is invalid because it covers multiple different
 26   works published separately at different times, yet was registered as a single work.
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                                  DEFENDANTS’ COUNTERCLAIM
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  1         33.    Since instituting this litigation, Nirvana’s theory of copyright protection
  2   has shifted, resulting in the post-litigation claim that the work covered by the 166
  3   Registration is a derivative work.
  4         34.    The 166 Registration does not disclose the registered work as derivative
  5   of an earlier, underlying work.
  6         35.    The Disputed T-Shirt Design is insufficiently original to qualify as a
  7   derivative work.
  8         36.    The 166 Registration is invalid because, among other things, it does not
  9   disclose the covered work as a derivative work and upon information and belief,
 10   Nirvana did not have consent to produce a derivative work based upon the preexisting
 11   designs.
 12         37.    Any error, evasion, inaccuracy and/or omission contained in the
 13   application to register the work covered by the 166 Registration was material and/or
 14   deliberate, intentional, knowing, and willful, and upon information and belief, if
 15   known by the Copyright Office, would have caused the Register of Copyrights to
 16   refuse registration.
 17         38.    Counterclaim Plaintiffs have no adequate remedy at law.
 18         39.    Accordingly, Counterclaim Plaintiffs seek a judgment declaring the 166
 19   Registration invalid and unenforceable together with an order directing the Register
 20   of Copyrights to cancel the 166 Registration.
 21                                 PRAYER FOR RELIEF
 22         WHEREFORE, Marc Jacobs International, LLC, Saks Incorporated, d/b/a Saks
 23   Fifth Avenue, and Neiman Marcus Group Limited, LLC respectfully request that the
 24   Court enter a judgment against Nirvana, L.L.C. as follows:
 25         A.     Declaring the 166 Registration to be invalid and unenforceable;
 26         B.     Issuing an order directing the Register of Copyrights to cancel the 166
 27   Registration;
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                                 DEFENDANTS’ COUNTERCLAIM
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  1          C.     Declaring the 166 Registration to be not infringed;
  2          D.     Dismissing the Complaint of Nirvana, L.L.C. in its entirety with
  3   prejudice;
  4          E.     Awarding Marc Jacobs International, LLC, Saks Incorporated, d/b/a
  5   Saks Fifth Avenue, and Neiman Marcus Group Limited, LLC their costs,
  6   disbursements, and reasonable attorneys’ fees, pursuant to 17 U.S.C. § 505 and to the
  7   extent otherwise permitted by law; and
  8          F.     Granting Marc Jacobs International, LLC, Saks Incorporated, d/b/a Saks
  9   Fifth Avenue, and Neiman Marcus Group Limited, LLC such other and further relief
 10   as the Court may deem just and proper.
 11                                DEMAND FOR JURY TRIAL
 12          Pursuant to Fed. R. Civ. P. 38, Counterclaim Plaintiffs hereby demand a jury
 13   trial on all issues so triable.
 14

 15   Dated: November 26, 2019                KELLEY DRYE & WARREN LLP
 16
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                                    DEFENDANTS’ COUNTERCLAIM
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                              DEFENDANTS’ COUNTERCLAIM
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    1                            CERTIFICATE OF SERVICE
    2         I hereby certify that on November 26, 2019, a true and correct copy of the
    3   foregoing DEFENDANTS’ COUNTERCLAIM was filed electronically with the
    4   Clerk of the above-captioned Court utilizing the Court’s CM/ECF system,
    5   resulting in an automatic transmission of a Notice of Electronic Filing to all
    6   counsel of record in the above-referenced proceeding.
    7

    8

    9                                                 By: /s/Michael J. Zinna
   10
                                                      Michael J. Zinna
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